 

Case 1:20-cv-07456-JGK Document 12

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CENTRALNIC GROUP PLC

Plaintiff, 20 cv 7456 (JGK)

ORDER
- against -

 

SIMON MILLS, ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:

The parties should submit a Proposed Scheduling Order for
the submission of an Amended Complaint and the defendants’

time
to move or answer the Amended Complaint.

SO ORDERED.

Dated: New York, New York SO)

November 4, 2020 _ {>

  

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John G. Koeltl
United States District Judge

 

 

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